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 5   Attorney for Defendant
     Minh Tham
 6
                        IN THE UNITED STATES DISTRICT COURT
 7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA                  )   No. CR. S-09-0222 TLN
                                               )
10
                 Plaintiff                     )   STIPULATION AND
                                               )   ORDER CONTINUING
11
                       v                       )   SENTENCING AND BRIEFING
12                                             )   ORDER
     MINH THAM                                 )
13                                             )   DATE: May 15, 2014
                 Defendant                     )   Time: 9:30 AM
14                                             )   Court: Troy L. Nunley

15
                 It is hereby stipulated between the parties that
16
     Sentencing in this matter shall be continued to May 15, 2014 at
17
     9:30 AM. The Draft PSR will be due on March 20, 2014; Objections
18

19
     will be due on April 3, 2014; Final PSR will be due on April 10,

20   2014; motions for corrections will be due on April 17, 2014;

21   Reply will be due on April 24, 2014.

22   ///

23   ///
24   ///
25
     ///



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 3
         This extension of time is necessitated by the parties
 4
     conflicting schedules, and the desire to accommodate all of them.
 5
         Dated: March 12, 2014                 Respectfully submitted,
 6
                                               /s/MICHAEL B. BIGELOW
 7                                             Michael B. Bigelow
                                               Attorney for Defendant
 8

 9

10                             IT IS SO STIPULATED
11

12   DATED: March 12, 2014             /s/MICHAEL B. BIGELOW
                                       Michael B. Bigelow
13                                     Attorney for Defendant Tham

14
     DATED: March 12, 2014             /s/HEIKO COPPOLA
15                                     Heiko Coppola
                                       Assistant United States Attorney
16

17

18
                                        ORDER
19
         IT IS ORDERED: that pursuant to stipulation the above
20
     sentencing in the above referenced matter shall be continued
21
     until May 15, 2014 at 9:30 AM. It is further ordered that the
22
     agreed to briefing schedule shall be adopted.
23

24   Dated: March 14, 2014
25
                                            Troy L. Nunley
                                            United States District Judge

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